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Ao 91 (Rev. 5/35) criminal complaint emt§zs§]?_ctt>taxas
U n ited States District Cou rt 11 312121
SOUTHERN DISTRICT OF TEXAS@§M§§ E` y §

 

 

UNITED sTATEs oF AMERICA
V‘ CRIMINAL COMPLAINT

JOS€ DE LEON Jr. , YOBZ 1989, USC
CAsE NUMBER: /7)(- /g-' / g/?‘M

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief On or about August 31, 2018 In Hidalgo county, in the

Southern District of TeXas defendant(s) did, mack statutory Language cf offense)

Knowingly and Intentionally possess with the Intent to Distribute approximately 1.03 kilograms of Heroin, a
Schedule l Controlled Substance.

Knowingly and Intentionally conspire to possess with the lntent to Distribute approximately l.03 kilograms
of Heroin, a Schedule I Controlled Substance.

in violation of Title 2l United States Code, Section(s) 846, 841 (a) (l)

 

l further state that l am a(n) DEA Task Force Ofticer and that this complaint is based on the
following facts: See Attachment “A”.

Continued on the attached sheet and made a part of hereof'. X Yes No
Psg{w.-d man (:m¢¢ 1 Pe

~j/ Arturo Casanova Jr., DEA Task orce Officer

Sworn to before me and subscribed in my presence,

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Dhte " ' '

    

 

 

 

Cit;n%@ w
Peter E. Ormsby, U.S. l\/Iagistrate Judge .OC §

 

 

Name & Title of Judicial Offlcer Si'gnature of Judicial Offlcer

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ATTACHN\ENT

On August 31, 2018, a DEA Confidential Source (CS) informed DEA Special Agents/Task Force Officers
that a shipment of heroin had arrived into the United States from l\/lexico. The CS provided a telephone
number for an individual, later identified as Jose DE LEON, who was in possession of approximately one
(1) kilogram of heroin.

On this same date, TFO Carlos |\/lire|es, acting in an undercover capacity, met With DE LEON at the
Costco parking lot located at 1501 West Kelly Avenue, Pharr, Texas. DE l_EON showed TFO lVlireles a bag
later found to be containing four (4) packages of a substance that subsequently field tested positive for
heroin. DE LEON pulled one small package out of the plastic bag and informed TFO |\/lireles the plastic
bag contained a total of four (4) bags. DE LEON Was then placed under arrest by DEA Agents. A total of
1.03 kilograms of heroin was seized from DE LEON.

DE LEON was read his lVliranda Warnings by TFO Arturo Casanova and TFO Gilberto Vazaldua. DE LEGN
waived his rights and cooperated with the Agents. DE LEON advised that on August 30, 2018, he
smuggled the heroin on his person from l\/lexico into the United States through the Hidalgo Port of Entry
pedestrian lane. DE LEON stated that he was aware that the packages he smuggled into the United
States contained heroin.

